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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION


CAROLYN ANN MILLER,

Plaintiff,

v.                                             Case No. 4:20-cv-00514-MW-MAF

EBS SECURITY INC., and
PRINTELLA BUCKHEAD,

Defendants.
                                                    /

       DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
            PLAINTIFF’S THIRD AMENDED COMPLAINT

         Defendants, EBS Security Inc. (“EBS”) and Printella Bankhead

(“Bankhead”)1 (collectively, “Defendants”), through undersigned counsel and

pursuant to Federal Rules of Civil Procedure 8 and 12, answer the Third

Amended Complaint (Doc. 12) filed by Plaintiff, Carolyn Miller (“Plaintiff”),

and assert defenses and affirmative defenses as follows:




1
    Plaintiff misspells Defendant Bankhead’s last name in the case caption.
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                       PARTIES TO THIS COMPLAINT

      1.     Defendants acknowledge that Plaintiff has filed the Complaint.

Defendants are without knowledge regarding and therefore deny the remaining

allegations in Paragraph I(A)(1).

      2.     Defendants acknowledge that Plaintiff has sued Defendants in this

action. Defendants admit that the address information set forth in Paragraph

I(B)(1) is accurate.

                        BASIS FOR JURISDICTION

      3.     Notwithstanding Plaintiff’s failure to identify the basis for

jurisdiction, Defendants acknowledge that jurisdiction is proper in this Court as

to EBS. Defendants deny that jurisdiction is proper as to Defendant Bankhead,

who is not subject to liability under applicable law. Defendants deny that they

violated any law.

                          STATEMENT OF CLAIM

      4.     Defendants are without knowledge regarding, and therefore deny, or

otherwise deny, all of Plaintiff’s allegations in her statement of claim except as

explicitly admitted below. Defendants admit that Defendant Printella Bankhead

was on a phone call with Plaintiff and Lt. Michael Deaner during which

Defendant Bankhead told Plaintiff to go home and that Defendant Bankhead

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would call Plaintiff. Defendants further admit that Defendant Bankhead notified

Plaintiff that Lt. Deaner did not want Plaintiff to return to work, and that

Defendant Bankhead stood by the decision. Defendants admit that Plaintiff was

employed at the address identified in Paragraph III(C).

     EXHAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES

       5.     Defendants admit that Plaintiff filed a Charge of Discrimination

against Defendant EBS alleging discrimination on the basis of sex and race, and

that Plaintiff no longer works for EBS.         Defendant is without knowledge

regarding and therefore denies, or otherwise denies, the remaining allegations in

Paragraph IV.

                                     RELIEF

       6.     Defendants deny all allegations and deny that Plaintiff is entitled to

any relief in this action.

                               CERTIFICATION

       7.     Defendants are without knowledge regarding, and therefore deny,

Plaintiff’s allegations regarding her contact information. Defendants deny all

remaining allegations in Paragraph VI of the Complaint.

                              GENERAL DENIAL

       All allegations not expressly admitted are denied.

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                                FIRST DEFENSE

      Defendant Bankhead is not subject to individual liability under applicable

law and therefore Plaintiff fails to state a claim against Defendant Bankhead.

                              SECOND DEFENSE

      Even if Plaintiff could state a claim against Defendant Bankhead, Plaintiff

failed to exhaust administrative remedies and therefore her claim against

Defendant Bankhead is barred.

                               THIRD DEFENSE

      Plaintiff’s claims are barred or limited to the extent she failed to mitigate

damages.

                              FOURTH DEFENSE

      Plaintiff’s claims are barred or limited to the extent Defendants discover

evidence of wrongdoing that if known previously would have led EBS to

terminate Plaintiff.

                               FIFTH DEFENSE

      To the extent Plaintiff attempts to state a claim for retaliation, her claim

is barred to the extent she failed to engage in protected activity.

                               SIXTH DEFENSE

      Defendants reserve the right to assert additional defenses that may be

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revealed during discovery.

      Dated this 21st of June, 2021.

                                           Respectfully submitted,
                                           SPIRE LAW, LLC
                                           2572 W. State Road 426, Suite 2088
                                           Oviedo, Florida 32765


                                           /s/Ashwin R. Trehan
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                                           Attorney for Defendants | EBS
                                           SECURITY INC., and PRINTELLA
                                           BANKHEAD


                       CERTIFICATE OF SERVICE

      I hereby Certify that on this 21st day of June, 2021., the foregoing was

electronically filed with the Court by using the Northern District of Florida’s

CM/ECF portal, and served by U.S. and electronic mail upon Plaintiff, Carolyn

Miller, at millercarolyncm60@gmail.com; 171 Ave L Apalachicola, FL 32320.

                                             /s/ Ashwin R. Trehan
                                             Attorney
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